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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

In re:
                                                                 Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                 Chapter 11
                   1
      Debtors.
________________________________/                                (Jointly Administered)

          EMERGENCY MOTION OF THE OFFICIAL COMMITTEE OF
           EQUITY SECURITY HOLDERS FOR ENTRY OF AN ORDER
     GRANTING DERIVATIVE STANDING AND AUTHORITY TO PROSECUTE
    AND SETTLE CERTAIN CLAIMS ON BEHALF OF THE DEBTORS' ESTATES

         The Official Committee of Equity Security Holders (the "Equity Committee") of Premier

Exhibitions, Inc. ("Premier"), Chapter 11 Debtor in Case No. 3:16-bk-02232-PMG and the

parent company of RMS Titanic, Inc. ("RMST"), Chapter 11 Debtor in Case No. 3:16-bk-02230-

PMG, by and through undersigned counsel, moves the Court for entry of an Order in the form

attached hereto as Exhibit A, on an emergency basis, authorizing the Equity Committee to

commence, prosecute, and, if appropriate, settle certain claims against certain parties on behalf

of the bankruptcy estates (the "Estates") of the above-captioned debtors (the "Debtors"). In

support of this Motion, the Equity Committee respectfully says:

                                 BASIS FOR EMERGENCY RELIEF

         The Equity Committee requests emergency consideration of this Motion because the

statutes of limitations for the claims the Equity Committee seeks leave to pursue may expire as

early as June 14, 2018. Although the Equity Committee accepts responsibility for the emergent


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  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309)
(collectively, the "Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.
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nature of this Motion, much of the delay in bringing this Motion was engendered by the efforts

of the Equity Committee to include prosecution, and potential resolution of these claims within

the context of a Chapter 11 plan. As this Court is aware, the Equity Committee has, for more

than a year, engaged in good faith negotiations with the Debtors, and with the Creditors

Committee, toward a consensual plan of reorganization that would include provisions to address

these claims. The Plan Support Agreement, itself, and the agreed Plan Term Sheet attached

thereto, contemplated inclusion of these claims in a Chapter 11 plan.         Indeed, the Equity

Committee would have preferred these claims be preserved in a plan and prosecuted post-

confirmation by a Liquidation Trust. That has been the Equity Committee’s position consistently

in its plan negotiations. The Court will recall that the Equity Committee negotiated and entered

a Plan Support Agreement which contained a consensual Plan Term Sheet. That Plan Time

Sheet, for example, included provisions preserving these causes of action:

         In accordance with section 1123(b)(3) of the Bankruptcy Code, all causes of

         action and litigation rights (the “Litigation Rights”) of the Debtors not

         otherwise settled or released under the plan shall be transferred to the

         Liquidation Trust for purposes of resolution or liquidation, and nothing

         contained in the Plan or the Confirmation Order shall be deemed to be a

         waiver or relinquishment of any such Litigation Rights. The Liquidation

         Trustee may (but is not required to) enforce all Litigation Rights and all other

         similar claims arising under applicable state laws, including fraudulent transfer

         claims, if any, and all other causes of action of a trustee and debtor-in-

         possession under the Bankruptcy Code.




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See, Order Authorizing the Debtors, The Official Committee of Unsecured Creditors and The

Official Committee of Equity Security Holders to Enter into And Perform Their Obligations

Under a Plan Support Agreement, entered July 7, 2017, Docket 642, at page 35 of 37

        The Plan Term Sheet also provides:

          Any discharge or release provisions of the Plan shall not diminish or impair the

          enforceability of any of the Debtors’ insurance policies, including any that

          may cover Claims against the Debtors or the Reorganized Debtors, and their

          current and former officers and directors, or any other person or entity.

Id.

        Thus, it had been the expectation of the Equity Committee that these claims would be

prosecuted by a post-confirmation liquidating trust. These claims may ultimately be transferred

to such a trust, but it now is not feasible for that trust to be established in time, given the

impending potential statutory deadlines. Unfortunately, as events in the Chapter 11 case played

out, time has run on the prospect to provide for these claims in the context of a plan. According,

the Equity Committee is required to preserve these claims for the benefit of the estate in the

manner requested in this motion.

        Moreover, the estate is not prejudiced by any delay and the Motion is necessary because

the Debtor will not bring these claims, yet the claims have the potential to bring significant value

to the estate, which stands to gain in having the Equity Committee prosecute these claims.

                                               OVERVIEW

        The Equity Committee brings this Motion for leave to prosecute claims of the Estates

against certain Insiders2 (as defined below) that will yield significant value for unsecured


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  Based upon its discovery and analysis of the facts, the Equity Committee has already identified certain of the
Insiders against whom claims do not exist. Accordingly, simply being designated an "Insider" does not mean that


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creditors and the Estates. The Debtors have refused to pursue these claims and other claims

against the Insiders. The Debtors have inherent conflicts of interest and have refused to act as

fiduciaries for the Estates to protect unsecured creditors. Thus, the Equity Committee should be

granted standing to pursue estate claims and causes of action against the Insiders, as well as

authority to settle those claims.

         Specifically, the Equity Committee seeks standing to immediately commence all

available actions, including, without limitation, (i) for recovery of claims arising under 11 U.S.C.

§§ 547, 548, 550, and 551, as well as applicable state laws (collectively, the "Insider Claims"),

(ii) to avoid, preserve, and/or recover for the benefit of the Debtors' bankruptcy estates all of the

claims against certain of the Debtors' former and current directors and officers (the "D&O

Claims"), and (iii) for all direct and/or indirect transfers of interest in money or property of the

Debtors, to or for the benefit of certain of the Insiders (the "Transfer Claims").

         By letter dated May 1, 2018, the Equity Committee asked the Debtors to pursue the

Insider Claims, D&O Claims, Transfer Claims and other claims against the Insiders (the

"Demand Letter"). The Demand Letter is attached hereto and incorporated herein as Exhibit B.

         The Debtors refused the Equity Committee's request, on two grounds: first, the Equity

Committee did not include a draft complaint with the Demand Letter, and second, the Equity

Committee lacks standing to bring the proposed claims. As set forth below, the Debtors' refusal

is unjustified and the cited grounds are meritless.




individual would be subject to claims. On the other hand, as facts continue to be developed, it is possible additional
Insiders would likewise be excluded as targets of claims.


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                                         BACKGROUND

        1.       On June 14, 2016 (the "Petition Date"), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code, commencing the above-captioned,

jointly administered bankruptcy case (the "Bankruptcy Case").

        2.       The Debtors continue to operate their businesses as debtors in possession pursuant

to Bankruptcy Code Section 1107 and 1108.

        3.       No trustee or examiner has been appointed in the Bankruptcy Case.

        4.       On August 24, 2016, the Acting United States Trustee, Guy G. Gebhardt,

appointed the members of the Equity Committee. On August 31, 2016, the Equity Committee

selected Landau Gottfried & Berger LLP and Akerman LLP as its general bankruptcy counsel.

                                  JURISDICTION AND VENUE

        5.       The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334.

        6.       This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        7.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

        8.       The statutory predicates for relief are §§ 105, 1103(c), and 1109(b) of title 11 of

the United States Code (the "Bankruptcy Code").

                                          THE INSIDERS

        9.       The Board of Directors of the Debtors can be broken down into three categories:

(i) the pre-merger board, (ii) the post-merger board, and (iii) the board as of the Petition Date.

        10.      The pre-merger board included: (i) Bruce Steinberg; (ii) Ronald C. Bernard; (iii)

William M. Adams; (iv) Douglas Banker; (v) Richard Kraniak; (vi) Jack H. Jacobs; (vii) Mark

A. Sellers; and (viii) Samuel Weiser. The Equity Committee is not pursuing claims against




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Messrs. Steinberg, Bernard, and Adams. For purposes of this motion, "Pre-Merger Board" shall

consist of Messrs. Banker, Kraniak, Jacobs, Sellers, and Weiser.

           11.      The post-merger board included: (i) Daoping Bao; (ii) Michael Evans; (iii) Sid

Dutchak; (iv) Mingcheng Tao; (v) Mark Sellers; (vi) Richard Kraniak; and (vii) Douglas Banker

(the "Post-Merger Board").

           12.      The board as of the Petition Date included: (i) Daoping Bao; (ii) Douglas Banker;

(iii) Sid Dutchak; (iv) Mingcheng Tao; and (v) Richard Kraniak (the "Petition Date Board").

           13.      The members of the Pre-Merger, Post-Merger, and Petition Date Boards are

referred to collectively herein as the "Insiders".

                                                   THE D&O CLAIMS

           14.      As set forth more specifically below, the D&O Claims primarily arise from (i) the

"Armada Transaction", as described below, and (ii) the merger between the Debtors and

Dinoking (the "Merger") and April 11, 2016 restatement of Dinoking's financial information (the

"Restatement").3

A.         The Armada Transaction.

           15.      In early 2014, the Pre-Merger Board assessed strategic alternatives available to

the Company, and retained JPMorgan Securities to assist in this process.

           16.      In the early stages of the strategic alternative process, Premier engaged in

discussions with numerous entities, including Armada (whose principal was George Wight),

Dinoking (whose principal was Dao Ping Bao), and Base Entertainment. These companies all

seemed eager to enter into a transaction with Premier and submitted indications of interest.

Simultaneously, Premier was also exploring potential debt financing options so that the

Company would have capital to carry out its business plans.

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    Further discovery could identify other matters from which claims may arise.


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       17.     During this same time-frame, Sellers Capital, an entity owning the largest block

of Premier stock and managed by Mr. Sellers and Mr. Weiser – two of Premier’s directors – was

actively attempting to sell its Premier shares (the “Sellers Capital Shares”). By April 2014, Mr.

Sellers had already obtained two letters of intent for the purchase of the Sellers Capital Shares:

(a) an offer from an entity called “KOP” at $1.08 per-share, and (b) an offer from “Salvor Fund,”

whose principal was George Wight (from Armada), at $1.30 per share.

       18.     As Mr. Sellers contemplated the two offers, Premier was contemplating accepting

a loan offer from either Brevet Capital Advisors or Twin Haven Capital Partners. In an email

exchange between Mr. Sellers and Mr. Weiser on May 8, 2014, Mr. Sellers expressly stated that

he would vote against Premier accepting any loan offer at that point because he would be signing

the KOP letter of intent that day. Mr. Sellers did not want the Company to have any additional

debt at that time. Mr. Sellers signed the KOP letter of intent later that day. The loan offers from

Brevet and Twin Haven were never accepted by Premier.

       19.     Thereafter, both Base Entertainment and Dinoking, who had previously only been

negotiating deals with Premier, also made offers to Mr. Sellers for the purchase of the Sellers

Capital Shares. Thus, almost every entity negotiating with Premier also made an offer to

purchase the Sellers Capital Shares. E-mails from Mr. Bao confirm that the notion of purchasing

the Sellers Capital Shares was suggested to him by Mr. Weiser.

       20.     The companies then negotiating with both Premier and Sellers Capital were

forced to balance competing interests. For example, in an email exchange on May 19, 2014, Mr.

Sellers explained to Mr. Weiser that he simply wanted to cash out his shares and exit the

Company. In response, Mr. Weiser stated his belief that Base Entertainment understood that

dynamic, and was in fact “diverting” cash they would use to make an offer for Premier so that




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they could be in a position to purchase the Seller Capital shares if the KOP transaction was not

successful.

           21.      On June 13, 2014, before any deal between KOP and Sellers Capital was

finalized, the Pre-Merger Board abruptly terminated Mr. Weiser’s employment as CEO and

appointed Mike Little as the interim CEO. Mr. Weiser remained on the Pre-Merger Board.4

           22.      Once removed as CEO, Mr. Weiser increased the efforts to sell the Sellers Capital

Shares (even at Premier’s expense).                On July 16, 2014, Mr. Weiser spoke with Dinoking

representatives to convince Dinoking that it would not be able to negotiate a deal with Premier at

that time. Instead, Mr. Weiser suggested that Mr. Bao first purchase the Sellers Capital Shares

and then use the influence provided by the block of shares to negotiate a merger with Premier. It

seems that Dinoking investigated that strategy at that time.

           23.      Mr. Sellers ultimately decided that he wanted to move forward with KOP.

However, at a board meeting on July 23, 2014, the Pre-Merger Board rejected Sellers Capital's

request to enter into a formal transaction with KOP.5 At the very next board meeting, Mr. Sellers

moved to reconstitute the Pre-Merger Board. On August 25, 2014, board members William

Adams, Ronald Bernard, and Bruce Steinberg, who had opposed Mr. Sellers' actions, were

replaced by Jack Jacobs and Rick Kraniak. The newly reconstituted board acted quickly to

appoint Mr. Weiser as the Executive Chairman of the board with a $30,000 per month salary.

           24.      In September 2014, Mr. Weiser continued to give the Pre-Merger Board updates

about Premier’s strategic alternatives, which still included possible transactions with Dinoking

and Armada. At that time, Premier was in dire financial shape and accepted a loan from


4
  At his deposition, Mike Little explained that the Pre-Merger Board fired Mr. Weiser based on the Debtors' poor
execution in carrying out the strategic plans and Mr. Weiser’s lack of effort at aiding the Debtors through difficult
times.
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    Sellers Capital believed Premier’s approval was required under the Florida Control Share Acquisition Statute.


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Pentwater Capital Management. The loan was a bridge loan and was contemplated as only a

short-term solution to Premier’s financing problems.

        25.       On October 13, 2014, while the Pre-Merger Board contemplated the transactions

with Dinoking or Armada, Mr. Sellers told it that he believed the company “needed to be

prepared to remain independent.” This conversation is telling because, two days later, Sellers

Capital entered into a Stock Purchase Agreement with Armada. The Sellers Capital-Armada

transaction required the Pre-Merger Board to approve three new board members chosen by

Armada. On November 20, 2014, the newly reconstituted Pre-Merger Board approved the

proposed Armada directors.

        26.      The Armada transaction failed to close.6 Mr. Sellers then directed that Premier

return its attention to Dinoking. Negotiations between the companies ultimately led to the

signing of a merger agreement on April 2, 2015. The Dinoking deal closed in November 2015.

B.      Breach of the Duty of Loyalty.

        27.      The Estate has claims for the breach of the duty of loyalty against Mr. Sellers, Mr.

Weiser, and the rest of the reconstituted board.                Mr. Sellers and Mr. Weiser’s conduct in

pursuing both a sale of Premier and a sale of the Sellers Capital Shares simultaneously

constitutes a breach of the duty of loyalty.                 Both directors held fiduciary duties to both

companies even though the companies had conflicting interests.

        28.      This conflict of interest manifested in numerous ways. First, Mr. Sellers was so

keen on selling the Sellers Capital’s shares that he rejected potentially beneficial loans from

Brevet and/or Twin Haven despite Premier’s need for debt financing. That decision, which was

made to aid Sellers Capital and make the shares seem more enticing, ultimately forced Premier to

6
 Sellers Capital successfully sued Armada and George Wight in the United States District Court for the Northern
District of Illinois for breach of contract based on the Armada’s failure to close the transaction. In November 2017,
Sellers Capital obtained a $6 million judgment in that case.


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scramble for alternative financing and accept the onerous Pentwater loan months later. The

Brevet and Twin Haven loan terms were more advantageous to Premier because, among other

things, they had a 36-month term compared to the six-month term for Pentwater.

       29.     Second, Mr. Sellers’ actions in putting his personal interests ahead of Premier’s

resulted in the forced resignation of three board members who did not approve the KOP

transaction. After appointing his hand-picked new board members, Mr. Sellers quickly got Mr.

Weiser (who handled all negotiations with Armada) reinstituted in a leadership position within

Premier (at a large salary). A month later, Mr. Sellers informed the reconstituted board that

Premier needed to be ready to remain an independent company. But, just two days later, Sellers

Capital entered into the Armada deal. The newly reconstituted board did not object to Mr.

Sellers’ conduct, and in fact, tacitly approved by agreeing to appoint the Armada directors.

       30.     Third, Mr. Weiser’s and Mr. Sellers’ conflicts caused them to interfere with

Premier’s potential transactions. Mr. Weiser actively influenced Dinoking to cease negotiations

with Premier so that Dinoking could acquire the Sellers Capital Shares. At the time of these

communications, Mr. Weiser and Mr. Sellers were still Premier board members.

       31.     Fourth, the conflict of interest reached a pinnacle when Sellers Capital entered

into a contract with Armada for which Premier gained no benefit. Instead of focusing on the

potential transactions that would have benefitted the Debtors as well as Premier's shareholders,

Mr. Sellers and Mr. Weiser pursued a transaction that would only benefit Sellers Capital.

Furthermore, Mr. Sellers was able to use his control over his hand-picked Premier board

members to make sure the transaction got approved. Accordingly, Mr. Sellers, and the rest of the

Pre-Merger Board, acted in bad faith and breached their duty of loyalty, in obtaining and

approving the Armada transaction.




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        32.     “Once disloyalty has been established,” a fiduciary cannot be allowed to “profit

personally from his conduct,” and the beneficiary should “not be harmed by such conduct.”

Thorpe by Castleman v. CERBCO, Inc., 676 A.2d 436, 437 (Del. 1996) (finding breach of the

duty of loyalty where a board member who was also a controlling shareholder sold his personal

shares when the shareholder also negotiated the deal despite being conflicted due to his duties

owing to the company). Thus, at a minimum, Mr. Sellers and Mr. Weiser are liable for any

benefit they received from the Armada transaction, i.e. the $6 million judgment, as well as any

expenses incurred by Premier throughout the Armada transactions. The other Pre-Merger Board

members are also, at a minimum, liable for any fees incurred in assisting Sellers Capital’s with

the Armada deal.

C.      Claims Premised on Delay of the Dinoking Transaction

        33.     Dinoking and Premier had been in discussions regarding a possible deal since

early in 2014.     However, the potential transactions involving Sellers Capital continuously

interfered with the Dinoking negotiations. In a presentation to potential investors, Dinoking

explained that “[Premier] and [Dinoking] began discussing a potential merger in January 2014

but the merger did not move ahead as [Mr.] Sellers was focused on selling his stake and did not

want to be diluted at the time. Furthermore, during the pendency of the Sellers Capital-Armada

transaction, Mr. Weiser complained to George Wight that Armada’s failure to close the

transaction cost Premier “valuable weeks” in negotiating other deals. Indeed, Mr. Little testified

that Premier would have “[a]bsolutely” been better off as a Company had it entered into a

strategic transaction earlier than it did.

        34.     Premier’s stock price drastically dropped between January 2014 and November

2015 when the Dinoking deal ultimately closed.          If the Dinoking transaction (or any other




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strategic transaction) was more actively pursued earlier, while the Premier shares were more

valuable, Premier would have obtained a more advantageous deal. Thus, the Estate has claims

for the breach of the duty of loyalty against Mr. Weiser, Mr. Sellers and the Pre-Merger Board

based on this lack of focus on Premier’s interests. In re Chira, 353 B.R. 693, 729 (Bankr. S.D.

Fla. 2006), aff'd, 378 B.R. 698 (S.D. Fla. 2007), aff'd, 567 F.3d 1307 (11th Cir. 2009) (finding a

breach of fiduciary duty in delaying a sale of the company that was advantageous).

       35.     Instead of focusing on a potential deal for Premier, Mr. Weiser and Mr. Sellers

continuously pursued transactions that would unload Sellers Capital’s Shares. Had Mr. Weiser

and Mr. Sellers pushed for any of Premier’s potential transactions instead of the self-interested

deals, the Dinoking deal (or another transaction) could have closed earlier. Similarly, the Pre-

Merger Board was aware of the potential transactions available to the Company, and the need for

an infusion of capital, but nonetheless allowed the Armada deal to move forward even though it

would negatively affect the other negotiations.       Indeed, in the Proxy Statement, Premier

disclosed that with the announcement of the Armada deal, “discussions with the

PacBridge/Dinoking group, along with other potential strategic partners with whom the

Company was in discussion, were paused pending the outcome of the Sellers/Armada transaction

[for the purchase of the Sellers Capital Shares].” See Proxy Statement at 43.

D.     Usurpation of Corporate Opportunity

       36.     The Estate has claims against Mr. Sellers and Mr. Weiser for usurpation of a

corporate opportunity. Armada was negotiating with Premier for a stock-for-stock transaction.

In the end, Armada only signed a cash deal with Sellers Capital. A claim that a director or

officer improperly usurped a corporate opportunity belonging to the corporation is a derivative

claim. In re Digex Inc. Shareholders Litig., 789 A.2d 1176, 1189 (Del. Ch. 2000); see also




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Dinuro Investments, LLC v. Camacho, 141 So. 3d 731, 739 (Fla. 3d DCA 2014) (stating that a

direct claim is not available when there is no “special injury to the shareholder or member that is

separate and distinct from those sustained by the other shareholders or members.”). Premier’s

damages for the usurpation will need to be fully calculated, but, at a minimum, that claim could

start at the $6 million judgment that Sellers Capital obtained against Armada and George Wight,

and be subject to upward adjustment by future expert witness review.

E.     Aiding and Abetting Breach of Fiduciary Duty

       37.     To the extent the Estate can state claims against Mr. Sellers or Mr. Weiser for

their misconduct, Premier can bring claims against Sellers Capital for aiding and abetting breach

of fiduciary duty based on the same actions. Carsanaro v. Bloodhound Techs., Inc., 65 A.3d 618,

643 (Del. Ch. 2013) (because directors who breached fiduciary duties were also directors of

other companies involved in the breach, the knowledge that the actions were in furtherance of a

breach could be imputed to other companies and they could be liable for aiding and abetting).

The Estate should thus seek recovery of, at a minimum, $6,000,000 against Sellers Capital for

aiding and abetting breach of fiduciary duties.

F.     The Merger and Restatement

       38.     After the Armada deal failed to close in November 2014, the Premier Pre-Merger

Board shifted its focus to the Dinoking transaction. In February 2015, Premier recognized that if

a deal was not finalized, the company would likely end up in bankruptcy. By March 2015,

Premier’s financial status was so gloomy (partially due to the impending term of the Pentwater

loan), that Mr. Weiser recommended that the board accept “the first deal ready to be signed.”

Because the Dinoking offer was the first offer available, Premier accepted the terms before even

hearing an offer for long term convertible debt from a group led by Andrew Shapiro.




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           39.      On April 2, 2015, Dinoking and Premier entered into the Merger agreement.

While preparing the proxy statement for the Merger, Premier noted that it required a “resolution

of issues in the Dinoking financial statements.” E-mail correspondence shows that Premier was

concerned about a revenue recognition issue in Dinoking’s audited financial statements. Premier

understood that the issue would likely cause the financial statements to be restated post-merger.

Mike Little testified that Mr. Bao was aware of the accounting issues both before and after the

Merger closed. The Dinoking transaction closed on November 2, 2015, without the faulty

financial information having been dealt with. Thereafter the board was once again reconstituted.

           40.      On January 19, 2016, Premier’s newly appointed audit committee raised the

accounting issue to the rest of the Post-Merger Board, and explained that there was “a likelihood

of a necessary restatement of Dinoking’s premerger valuation.” However, Mr. Little testified

that, at the time, Mr. Bao persisted that the accounting was done correctly and that Mr. Bao

“push[ed] back against the need for a restatement."

           41.      On April 11, 2016, nearly six months after the Merger closed, Premier issued a

disclosure statement explaining that Premier was restating Dinoking’s fiscal information from

2013 and 2014. Specifically, for fiscal year 2013, Dinoking’s revenues were really $5.4 million7

and not the $6.4 million mentioned in the Proxy Statement; the cost of sales were reduced from

$2.5 million to $1.6 million; and the 2013 operating income was really $0.7 million and not the

$1.0 million previously reported. For fiscal year 2014, Dinoking’s revenues were not $11.1

million, as reported, but were really $6.0 million; the cost of sales was reduced from $1.6 million

to $1.0 million; and the operating income was not $6.5 million, but rather only $2.1 million.




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    All of Dinoking’s financial information is in Canadian dollars.



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                                 PRELIMINARY ANALYSIS OF CLAIMS

A.         Claims Against Pre-Merger Board

           42.      The Pre-Merger Board, at Mr. Sellers' direction and encouragement, rush to

complete the Merger before Premier's financial condition became even more dire. In doing so,

the Board, consisting of Mr. Weiser, Mr. Sellers, Mr. Banker, and Mr. Kraniak, breached their

fiduciary duties by entering into the Merger on a rushed basis. This claim stems from the delay

claim discussed above.             The Pre-Merger Board rushed to complete the Merger based on

Premier’s dwindling financial situation and the need for immediate cash. The Pentwater notes

were coming due, and Premier needed an infusion of cash. Had Mr. Sellers and Mr. Weiser not

been so focused on selling the Sellers Capital Shares, Premier could have found a more stable

debt financing option and could have avoided the immediate need to enter into the Merger.

Furthermore, had the Pre-Merger Board turned its attention to Dinoking earlier, instead of aiding

Mr. Sellers with the Armada transaction, Premier may have been in a better position to fully

analyze the deal and not just sign whatever deal first became available. If the Dinoking deal was

given more vetting, Premier may have had time to fully assess the accounting errors in

Dinoking’s financials prior to closing the deal.

B.         Claims Against Mr. Bao

           43.      Mr. Bao breached his fiduciary duty to Premier by, inter alia, failing to disclose

Dinoking’s improper accounting after the Merger.8 Mr. Bao knew of the accounting issue prior

to the Merger. As soon as the Merger closed, Mr. Bao became a Premier board member and

CEO who undoubtedly owed fiduciary duties to Premier. Failure to disclose the financial

problems and misstatements constitutes a breach of fiduciary duty. Rehab. Advisors, Inc. v.

Floyd, 601 So. 2d 1286, 1288 (Fla. 5th DCA 1992) (breach of fiduciary duty for director to keep

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    Failure to bring claims against the Insiders may give rise to other claims against Mr. Bao.


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vital information from the company); Hoover Indus., Inc. v. Chase, 14 Del. J. Corp. L. 332, 338

(Ch. 1988) (“A director does breach his duty of loyalty if he knows that the company has been

defrauded and does not report what he knows to the board or to an appropriate committee of the

board, at the very least when he is involved in the fraud and keeps silent in order to escape

detection.”).

           44.     Mr. Bao’s breach can also be styled as a Caremark claim. See In re Caremark

Int'l Derivative Litig., 698 A.2d 959, 971 (Del. Ch. 1996). Under Caremark, a plaintiff must

show “either (1) that the directors knew or (2) should have known that violations of law were

occurring and, in either event, (3) that the directors took no steps in a good faith effort to prevent

or remedy that situation, and (4) that such failure proximately resulted in the losses complained

of...” Id. Mr. Bao’s failure to correct the financial misinformation as soon as he ascended to the

Post-Merger Board was a knowing failure to act in violation of his duties.

           45.     Not only did Mr. Bao fail to disclose the financial misstatements to the rest of the

board,9 he actively fought a restatement once the issue was raised. Due to his conduct, the

accounting issues were not fixed immediately upon the closing of the Merger; instead, Premier

continued operating under faulty financial information and Premier's shareholders were left in

the dark about the true nature of Premier's financial well-being for nearly six-months, well after

they voted in favor of the Merger.

           C.      Potential Additional Claims

           46.     In addition, because, among other things and without limitation, upon information

and belief, the Insiders at all relevant times dominated and absolutely controlled the Debtors and

breached their respective fiduciary duties of care and loyalty to the Debtors as officers and



9
    The financial misinformation was only discovered by the audit committee.


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directors of the Debtors, the Equity Committee hereby demands that the Debtors commence

actions against the Insiders for and/or based on, without limitation:

             a. Equitable subordination of the Insiders' claims against the Debtors;

             b. Recharacterization of the Insiders' purported loans to the Debtors as equity capital

                contributions;

             c. Recovery for the breaches of the duty of care and the duty of loyalty by, without

                limitation, all applicable Insiders;

             d. Recovery for the aiding and abetting of breaches of the duties of care and of

                loyalty;

             e. Recovery for injuries caused by the Insiders' inappropriate exercise of control

                over the Debtors and transactions with the Debtors' purported lenders that were

                not and have not been arm's length transactions; and

             f. Recovery for the Debtors' failure to pursue the Estate Claims (as defined below)

(collectively, the "Miscellaneous Claims").

                                      RELIEF REQUESTED

       47.      By this Motion, the Equity Committee seeks entry of an Order, in substantially

the form attached hereto as Exhibit A, granting it authority and standing to commence,

prosecute, and if appropriate, settle the Insider Claims, D&O Claims, Transfer Claims, and

Miscellaneous Claims, and any other similar claims the Equity Committee may discover

(collectively, the "Estate Claims"), and to take such other action as may be necessary or

appropriate in connection therewith.




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                              BASIS FOR RELIEF REQUESTED

       48.     In chapter 11 cases in which no trustee has been appointed, a debtor-in-possession

enjoys the powers that would otherwise vest in a bankruptcy trustee. See 11 U.S.C. § 1107(a).

The debtor-in-possession is thus vested with the duty to maximize value for the estate for

purposes of distribution to all parties in interest.    See e.g., Official Comm. of Unsecured

Creditors of Cybergenics Corp. ex rel. Cybergenics Corp. v. Chinery, 330 F.3d 548, 568 (3d Cir.

2003) (en banc) ("A paramount duty of a trustee or debtor in possession in a bankruptcy case is

to act on behalf of the bankruptcy estate.")

       49.     While the Eleventh Circuit has not directly addressed the issue, courts within the

Eleventh Circuit recognize that bankruptcy courts are empowered to confer standing upon

creditors' committees to bring precisely the type of claims and causes of action the Equity

Committee seeks to initiate here. See e.g., Feltman v. Prudential Bache Sec., 122 B.R. 466

(Bankr. S.D. Fla. 1990); In re Florida Group, Inc., 123 B.R. 923, 924 (Bankr. M.D. Fla. 1991)

(stating that "[t]his Court is convinced a creditors committee has a limited derivative right to

institute a suit on a debtor's cause of action …").

       50.     It is well-settled within other circuits that bankruptcy courts may allow a

committee to pursue causes of action on behalf of the estate under certain circumstances. See

Cybergenics, 330 F.3d at 567-68; Infinity Investors Ltd. ex rel. Yes! Entm't Corp. v.

Kingsborough (In re Yes! Entm't Corp.), 316 B.R. 141, 145 (Bankr. D. Del. 2004).

       51.     A committee's right to bring an action on behalf of the estate is not unqualified.

Courts have generally required a committee satisfy a four-element test before it can pursue

claims on behalf of a debtor's estate: (i) a demand must have been made upon the trustee or

debtor-in-possession to bring such action; (ii) such demand must have been unjustifiably refused;




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(iii) there must have been a prima facie demonstration of a colorable claim; and (iv) the party

seeking to bring the action must have obtained leave of court. See, e.g., Louisiana World

Exposition, Inc. v. Fed. Ins. Co., 858 F.2d 233, 247(5th Cir. 1988).

       52.     Under these principles, courts have granted equity security holders' committees

derivative standing and authority under similar circumstances as creditors' committees. See In re

Washington Mut., Inc., 461 B.R. 200, 267 (Bankr. D.Del. 2011), vacated in part, No. 08-12229-

MFW, 2012 WL 1563880 (Bankr. D.Del. 2012) (granting Equity Committee standing motion,

but directing parties to mediate); In re Betty Owens Sch., Inc., 1997 WL 188127, at *4, n.3

(S.D.N.Y. April 17, 1997) ("[E]quity holders' committees may obtain standing to pursue a cause

of action for breach of fiduciary duty on behalf of a debtor where a colorable claim exists which

the debtor has refused to assert.") (quoting Nat'l Convenience Stores Inc. v. Shields (In re Shepps

Food Stores, Inc.), 160 B.R. 792, 799 (Bankr. S.D. Tex. 1993); see also 11 U.S.C. § 1109(b)

("an equity security holders' committee … may raise and appear and be heard on any issue in a

case under this chapter.").

       53.     Courts in the Eleventh Circuit have further held that breach of fiduciary duty

claims against a debtor's officers and directors are quintessential causes of action that a creditors'

committee should prosecute on behalf of the estate. See e.g., In re TOUSA, Inc., 437 B.R. 447,

fn. 31 (Bankr. S.D. Fla. 2010) (granting a creditors' committee derivative standing to bring

breach of fiduciary duty claims against a debtor's present and past officers and directors).

       54.     As set forth below, the Equity Committee clearly satisfies the test for derivative

standing and the Court should confer derivative standing on the Equity Committee to commence,

prosecute, and if appropriate, settle the Estate Claims.




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        55.     The Equity Committee satisfied the first element by its letter dated May 1, 2018,

demanding the Debtors bring the claims described above. The Debtors refused.

        56.     The second element is satisfied for several reasons. First, the Debtors contend

they cannot adequately assess the merits of the Estate Claims because the Equity Committee did

not include a draft complaint with the Demand Letter. The Debtors place form over substance

here: the Demand Letter sets out, in explicit detail, the factual bases for the Estate Claims, as

well as the legal grounds for each claim. Undoubtedly, a draft complaint would include

additional information, primarily procedural allegations pertaining to the statutory predicate for

the claims and procedural rules. However, the Equity Committee has conducted discovery and

has included in the Demand Letter specific factual statements based upon that discovery that are

more than sufficient to allow the Debtors to determine the validity of the Estate Claims. Second,

the Debtors allege that the Equity Committee lacks standing to bring the Estate Claims because it

does not stand to recover anything in this case. The Equity Committee disputes that conclusion.

The Equity Committee is prepared to propose a plan which will result in recovery for equity

holders and further, as set out above, believes the Estate Claims will result in recovery, when

coupled with other estate assets, which will enhance distributions to equity holders if this

bankruptcy case and the estate’s assets are properly administered. Here, the Debtors

underestimate of the value of the estate is an attempt to take advantage of their own protracted

mismanagement of the case. Finally, the Equity Committee's proposed counsel for this litigation

is committed to pursuing the Estate Claims on a contingency fee basis, as has been approved

before by the court in In re Centaur, LLC, 10-10799-KJC, 2010 WL 4624910, at *4 (Bankr.

D.Del. Nov. 5, 2010). The Debtors' reasons for refusing the Equity Committee's demands are

meritless and the refusal itself is unjustifiable.




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       57.     Third, as set forth in detail above, the Equity Committee has demonstrated prima

facie colorable claims with respect to the Estate Claims, and particularly against the Insiders, for

breach of their fiduciary duties, aiding and abetting other directors and officers in breaching their

fiduciary duties, usurpation of corporation opportunity, and other claims arising from the

Insiders' repeated breaches of their fiduciary duties.

       58.     Finally, the Equity Committee seeks to satisfy the fourth element through this

Motion.

                                          CONCLUSION

       WHEREFORE, for the reasons set forth herein, the Official Committee of Equity

Security Holders of Premier Exhibitions, Inc. respectfully requests the Court enter an Order in

the form attached hereto as Exhibit A, conferring upon the Equity Committee standing to

commence, prosecute, and, if appropriate, settle the claims described herein, and grant such other

and further relief as the Court deems just and proper.

Dated: May 11, 2018                              Peter J. Gurfein, Esq.
                                                 LANDAU GOTTFRIED & BERGER LLP
                                                 1801 Century Park East, Suite 700
                                                 Los Angeles, California 90067
                                                 (310) 557-0050
                                                 (310) 557-0056 (Facsimile)
                                                 pgurfein@lgbfirm.com

                                                 -and-

                                                 AKERMAN LLP
                                                 By: /s/ Jacob A. Brown
                                                 Jacob A. Brown
                                                 Florida Bar No. 170038
                                                 50 North Laura Street, Suite 3100
                                                 Jacksonville, Florida 32202
                                                 (904) 798-3700
                                                 (904) 798-3730 (Facsimile)
                                                 Jacob.brown@akerman.com



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                                              Attorneys for the Official Committee of Equity
                                              Security Holders of Premier Exhibitions, Inc.



                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 11, 2018, the foregoing was transmitted to the Court
for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which will
send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on May 11, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                           /s/ Jacob A. Brown
                                                           Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
New York, NY 10112                          300 N. Hogan Street, Suite 700
                                            Jacksonville, FL 32202

Jonathan B. Ross, Esq.                      Christine R. Etheridge, Esq.
Gowling WLG (Canada) LLP                    Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5   Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
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TSX Operating Co., LLC                  Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                         c/o Ezra B. Jones
70 W. 40th Street                       305 Crosstree Lane
New York, NY 10018                      Atlanta, GA 30328
Creditor Committee                      Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION
                                    www.flmb.uscourts.gov
In re:
                                                                 Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                 Chapter 11
                   1
      Debtors.
________________________________/                                (Jointly Administered)

                  ORDER GRANTING EMERGENCY MOTION OF
         THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS FOR
          ENTRY OF AN ORDER GRANTING DERIVATIVE STANDING AND
           AUTHORITY TO PROSECUTE AND SETTLE CERTAIN CLAIMS
                    ON BEHALF OF THE DEBTORS' ESTATES

         THIS CAUSE came before the Court upon the Emergency Motion (the "Motion") (Doc.

__)2 of the Official Committee of Equity Security Holders of Premier Exhibitions, Inc., for entry

of an Order granting the Equity Committee Derivative Standing and Authority to Prosecute and

Settle Certain Claims on behalf of the Debtors' Estates.                 Through the Motion, the Equity

Committee seeks derivative and exclusive standing to commence, prosecute, and if appropriate,



1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309)
(collectively, the "Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.
2
  Defined terms from the Motion are incorporated by reference herein.


45104069;1

                                                 Exhibit A
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settle the Estate Claims. The Court having considered the Motion, the evidence presented, and

the arguments of counsel at the [DATE] hearing on the Motion, it is

         ORDERED:

         1.      The Motion is GRANTED.

         2.      The Equity Committee is granted derivative and exclusive standing pursuant to 11

U.S.C. §§ 1103(c)(5) and 1109(b) to commence, prosecute, and if appropriate, settle, the Estate

Claims.

         3.      The Court retains jurisdiction to interpret and enforce the terms of this Order.


Attorney Jacob A. Brown is directed to serve a copy of this Order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the Order.




45104069;1                                         2
                                             Exhibit A
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                          Exhibit B
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                          Exhibit B
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                          Exhibit B
